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 6 General Counsel for Chapter 7 Trustee,
   RICHARD A. MARSHACK
 7
                             UNITED STATES BANKRUPTCY COURT
 8
                CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
 9
    In re                                      Case No. 8:20-bk-13014-SC
10
    NORTHERN HOLDING, LLC,                     Chapter 7
11
                 Debtor.                       NOTICE OF CONTINUED HEARING RE:
12                                             ONGOING CIVIL CONTEMPT
                                               PROCEEDINGS
13
                                               Continued Hearing
14                                             Date:     September 27, 2023
                                               Time:     11:00 a.m.
15                                             Ctrm:     5C – via ZoomGov
                                               Location: United States Bankruptcy Court
16                                                       411 West Fourth Street
                                                         Santa Ana, CA 92701-4593
17 TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY JUDGE,

18 THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED PARTIES:

19           PLEASE TAKE NOTICE that the Court will hold a continued hearing on September 27,
20 2023, at 11:00 a.m., on the Court’s order to show cause re: civil contempt (“OSC”), entered on

21 October 26, 2022, as Docket No. 359. Appearances may be made by ZoomGov. In the event that this

22 matter is not resolved pursuant to the Court’s order entered on July 31, 2023, as Dk. No. 417, the

23 Parties shall appear at the hearing and advise the Court of the status of the obligations not later than

24 September 13, 2023.

25 DATED: August 10, 2023                         MARSHACK HAYS LLP
26
                                                  By: /s/ Tinho Mang
27                                                    TINHO MANG
                                                      General Counsel for Chapter 7 Trustee
28                                                    RICHARD A. MARSHACK
                                                       1
                                          NOTICE OF CONTINUED HEARING
     4877-7732-6389v.2-1015-148
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled:
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On August
10, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
                                                                            Service information continued on attached page
2. SERVED BY UNITED STATES MAIL: On August 10, 2023, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
 DEBTOR                                                  INTERESTED PARTY                SECURED CREDITOR / PROOF
 NORTHERN HOLDING, LLC                                   LEE CODDING                     OF CLAIM 4-1 ADDRESS
 ATTN: OFFICER, A MANAGING OR GENERAL                    13217 JAMBOREE ROAD,            FARM CREDIT WEST, FCLA
 AGENT, OR TO ANY OTHER AGENT                            #429                            FRANDZEL ROBINS BLOOM &
 AUTHORIZED BY APPOINTMENT OR LAW TO TUSTIN, CA 92782                                    CSATO, L.C.
 RECEIVE SERVICE                                                                         ATTENTION: MICHAEL GOMEZ
 13217 JAMBOREE RD #429                                                                  1000 WILSHIRE BOULEVARD,
 TUSTIN, CA 92782                                                                        19TH FLOOR
                                                                                         LOS ANGELES, CA 90017

 SECURED CREDITOR / PROOF OF                           SECURED CREDITOR
 CLAIM 4-1 ADDRESS                                     FARM CREDIT WEST
 FARM CREDIT WEST, FCLA                                ATTN: OFFICER, A
 ATTENTION: KEVIN E. RALPH                             MANAGING OR GENERAL
 3755 ATHERTON DRIVE                                   AGENT, OR TO ANY OTHER
 ROCKLIN, CA 95765                                     AGENT AUTHORIZED BY
                                                       APPOINTMENT OR LAW TO
                                                       RECEIVE SERVICE
                                                       3755 ATHERTON RD
                                                       11707 FAIR OAKS BLVD
                                                       ROCKLIN, CA 95765
                                                                            Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on August 10, 2023, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.
   VIA PERSONAL DELIVERY:                              VIA EMAIL DELIVERY
   PRESIDING JUDGE’S COPY                              Lee Codding
   HONORABLE SCOTT C. CLARKSON
   US BANKRUPTCY COURT
   411 WEST FOURTH STREET, SUITE 5-097
   SANTA ANA, CA 92701-4593
                                                                            Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
  August 10, 2023                            Layla Buchanan                     /s/ Layla Buchanan
  Date                             Printed Name                                 Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                                   Main Document     Page 3 of 3


    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:

        William H Brownstein Brownsteinlaw.bill@gmail.com
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         m
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        Kristine A Thagard kthagard@marshackhays.com,
         kthagard@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
        United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
        Reed S Waddell rwaddell@frandzel.com, sking@frandzel.com
        Gerrick Warrington gwarrington@frandzel.com, achase@frandzel.com
        David Wood dwood@marshackhays.com,
         dwood@ecf.courtdrive.com;lbuchananmh@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com



4870-6853-1548
4878-3681-2132, v. 1




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
